                      Case 1:20-mj-02541-TMD Document 1 Filed 10/06/20 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                               x FILED ___ ENTERED
                                                                                                              ____
                                                              for the                                         ____ LOGGED _____ RECEIVED
                                                     DistrictDistrict
                                                __________    of Maryland
                                                                      of __________                           3:02 pm, Oct 06 2020
                                                                                                          AT BALTIMORE
                  United States of America                       )                                        CLERK, U.S. DISTRICRT COURT
                             v.                                  )                                        DISTRICT OF MARYLAND
                                                                 )      Case No.    1:20-mj-2541       TMDBYcrp
                                                                                                             ______________Deputy
                                                                 )
                                                                 )
                     James Ian Piccirilli                        )
                                                                 )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  March 16, 2020              in the county of           Baltimore City           in the
                       District of          Maryland         , the defendant(s) violated:

            Code Section                                                   Offense Description
18 U.S.C. § 3146(a)(2)                        Failure to Surrender for Service of Sentence




         This criminal complaint is based on these facts:
Please see attached affidavit.




         ✔ Continued on the attached sheet.
         u


                                                                                            Complainant’s signature

                                                                                    Special Agent David Collier, ATF
                                                                                             Printed name and title

Sworn to before me and signed in my presence.


Date:
                                                                                               Judge’s signature

City and state:                      Baltimore, Maryland                     Thomas M. DiGirolamo, U.S. Magistrate Judge
                                                                                             Printed name and title
